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                                                86686


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                                                                                                     TORONTO

       VIA ECF

           The Hon. Robert B. Kugler                 Special Master the Hon. Thomas
           United States District Judge              Vanaskie
           USDJ, District of New Jersey              Stevens & Lee
           Mitchell H. Cohen Building & U.S.         1500 Market Street, East Tower, 18th
           Courthouse                                Floor
           4th & Cooper Streets, Room 1050           Philadelphia, PA 19103
           Camden, NJ 08101

       RE: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation, No. 1:19-md-2875-
       RBK-KMW (D.N.J.)

       Dear Judge Kugler and Judge Vanaskie:

       I write on behalf of the Defendants’ Executive Committee to inform the Court that defendants
       wish to address three agenda topics at the conference with the Court on August 3, 2023, and to
       set forth our positions on those items.

                                       Losartan/Irbesartan Discovery

       The parties have met and conferred regarding plaintiffs’ discovery and discussed potential issues
       applicable to all losartan/irbesartan manufacturer defendants (“manufacturer defendants” or
       “defendants”). (See Exhibit 1, M. Goldenberg email chain with S. Harkins.) The parties have come
       to agreement on a number of issues, but do not agree on the overall schedule for all manufacturer
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  defendants’ production of losartan/irbesartan documents, and therefore request the Court’s
  guidance regarding the production schedule issue.1

  The manufacturer defendants involved in losartan/irbesartan discovery include some parties that
  participated in valsartan discovery (Aurobindo, Hetero, Teva, Torrent, ZHP), and a number that
  have not previously engaged in any discovery or document production (Macleods, Sciegen,
  Vivimed). The manufacturer defendants that have not previously participated in any discovery are
  necessarily addressing issues such as custodians, search terms, ESI, and non-custodial document
  collection for the first time. Moreover, even the manufacturer defendants that previously
  participated in valsartan discovery are differently situated based on whether (and to what extent)
  they were involved in the manufacture of losartan, irbesartan, or both, and whether the same
  facilities, custodians, and search terms utilized for valsartan discovery are similarly appropriate
  for losartan and/or irbesartan. In light of these differences, manufacturer defendants proposed on
  June 20, 2023, and July 12, 2023 that plaintiffs consider separate production schedules by
  manufacturer defendant or category of manufacturer defendants to account for these individual
  circumstances. Plaintiffs have considered and declined, expressing that they want a single
  production schedule applicable to all responding manufacturer defendants.

  Manufacturer defendants proposed the below production schedule, which accounts for the time
  needed to finalize disputes and present them to the Court on August 31, 2023, resolve those
  disputes in the following weeks, and engage in voluminous custodial and non-custodial document
  review and production. Because plaintiffs have stated multiple times that they want one schedule
  for all responding manufacturer defendants, the proposed schedule must take into account the
  different circumstances of each of those manufacturer defendants described above. The following
  schedule takes those circumstances into account.

      •      August 31, 2023: Deadline to submit disputes regarding written discovery, search
             terms, and custodians to the Court; outstanding issues to be argued before Judge
             Vanaskie at the September Biweekly Conference Call
      •      February 1, 2024: Deadline to produce noncustodial documents
      •      April 30, 2024: Deadline to complete custodial production

  The production schedule that the manufacturer defendants propose is substantially shorter than the
  nearly year-long production of valsartan documents, which followed many months of negotiations
  and briefing over custodians and search terms. Manufacturer defendants have proposed an
  approximately 45-day schedule to address disputes and an eight-month schedule for production –
  several months less than the time taken for the Valsartan document production. This schedule
  cannot possibly prejudice plaintiffs at this initial stage of developing the irbesartan and losartan
  cases. Notably, some manufacturer defendants, particularly those that have previously participated


  1
    The parties continue to meet and confer regarding defendant-specific issues (e.g., custodians,
  search terms, scope, etc.) and have agreed that any defendant-specific disputes will be presented
  to the Court by August 31, 2023. (See Ex. 1.)
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  in valsartan discovery, will begin producing documents this month, and plaintiffs will therefore
  have materials to begin to review early in the schedule. Moreover, plaintiffs are already in
  possession of the material produced as part of losartan core discovery, which was substantially
  expanded from valsartan core discovery to include sales and pricing information, testing
  information, and facility inspection documents.

  Plaintiffs’ proposed schedule would require all responding manufacturer defendants to complete
  non-custodial productions by October 31, 2023, less than two months after any dispute over non-
  custodial productions submitted to the Court on August 31, 2023, will have been resolved. (See
  Ex. 1.) The proposed deadline of December 31, 2023 for completion of custodial discovery would
  allow less than four months for a massive custodial review. (Id.) Prior experience in valsartan
  discovery and any reasonable analysis of the volume of material to be reviewed make clear that
  this is not a workable timeline.2

  With respect to oral discovery, consistent with the scheduling approach for valsartan discovery,
  manufacturer defendants believe it is unnecessary and premature to set deadlines for depositions
  of corporate 30(b)(6) witnesses, expert witnesses, class representatives, or individual
  losartan/irbesartan plaintiffs at this time. Manufacturer defendants recognize that these depositions
  will need to be taken, and they will work with plaintiffs to complete those phases in an efficient
  manner. However, we note that in the valsartan cases, scheduling of the first subsequent phase –
  designation and depositions of corporate 30(b)(6) witnesses – did not take place until the parties
  had substantially completed custodial document production.

  Manufacturer defendants similarly believe it is premature to set deadlines for expert briefing as
  plaintiffs propose, and this is especially true given the absence of guidance on whether those
  experts would be addressing general causation, class certification, liability, and/or damages issues.



  2
   In connection with the meet-and-confer process, manufacturer defendants offered the following
  compromise schedule that plaintiffs also rejected:
     •      August 31, 2023: Deadline to submit disputes regarding written discovery, search
            terms, and custodians to the Court; outstanding issues to be argued before Judge
            Vanaskie at the September Biweekly Conference Call
     •      December 15, 2023: Deadline to produce noncustodial documents
     •      February 28, 2024: Deadline to complete custodial production
  As explained to Plaintiffs on July 12, 2023, manufacturer defendants proposed this schedule with
  the caveat that they might need to come back to the Court to seek more time if the compromise
  schedule turned out to be too compressed. Manufacturer defendants believe that their original
  proposed schedule, as discussed above, is a more appropriate schedule, particularly in light of the
  fact that they offered this compromise nearly one month ago and some core issues that would affect
  this schedule still have not been resolved with plaintiffs.
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  Accordingly, the responding manufacturer defendants request that the Court enter an order
  memorializing the above production deadlines, after which the parties will meet and confer to
  discuss deadlines for subsequent phases of discovery, as appropriate.



                Update on Retailers’ and Wholesalers’ Productions Under CMO No. 32

         The Pharmacy Defendants’ Productions Under CMO No. 32

  CMO 32 ordered the Pharmacy Defendants to produce three categories of discovery:

             (1) the amounts TPPs paid for valsartan products at issue in this litigation;
             (2) the Pharmacy Defendants’ costs and profits for VCDs; and
             (3) previously-redacted retailer identifiers of ConEcoLoss members.

  As the Court is aware, the Pharmacy Defendants met and conferred with Plaintiffs to define the
  scope of the productions numerous times, involving the Court in those discussions as
  appropriate.

  Regarding the third item, the Pharmacy Defendants are working diligently to produce data
  reflecting the names and available contact information for the ConEcoLoss members by August
  21, 2023, as required by the Amended Protected Health Information Order. (See Dkt. No. 2434.)

  Regarding TPP payments and cost and profits data, the parties agreed that the Pharmacy
  Defendants would provide that information by answering a set of negotiated interrogatories. The
  parties agreed to the language of the interrogatories with the exception of one issue, which was
  briefed and argued before the Special Master on June 23, 2023. (See Dkt. Nos. 2427, 2432, 2440
  (the parties’ briefing on this issue).) Once this is ruled on and entered by the Court, the Pharmacy
  Defendants will serve responses to plaintiffs’ interrogatories within 60 days.

                  The Wholesaler Defendants’ Productions Under CMO No. 32

  Wholesaler Defendants have produced the pricing data responsive to CMO 32 sections 7.1.2 and
  7.1.3. With respect to the costs and profits data referenced in section 7.1.1, at plaintiffs’
  suggestion, Wholesaler Defendants continue to work to develop a proxy formula for
  approximating profit data regarding VCDs because, as they previously advised plaintiffs and the
  Court, Wholesaler Defendants do not, in the ordinary course of business, calculate or maintain
  profit information on VCDs either on an NDC basis or individual transaction basis. In that
  regard, Wholesaler Defendants now have identified and retained consultants who are currently
  working to evaluate data and a potential proxy formula(s). Progress on this process is ongoing.
  With respect to a schedule for the targeted discovery of Wholesaler Defendants’ custodians
  regarding valsartan referenced in CMO 32 section 7.2, Wholesaler Defendants made a proposal
  to plaintiffs on July 14, 2023, that included a combined schedule for all custodial discovery
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  regarding valsartan, losartan, and irbesartan. Given plaintiffs’ requests for discovery regarding
  losartan and irbesartan served on May 22, 2023, Wholesaler Defendants believe it is most
  efficient and cost effective to negotiate, conduct, and complete custodial discovery (which
  involves significant e-discovery efforts) at the same time and on the same schedule for all three
  products. Moreover, as plaintiffs acknowledged in their April 12, 2023 letter to the Court
  requesting targeted custodial discovery related to valsartan, there is no pressing need to complete
  valsartan-related custodial discovery such that it would need to be completed separate or apart
  from custodial discovery on losartan and irbesartan. Plaintiffs responded to Wholesaler
  Defendants’ July 14, 2023 proposal on July 24, 2023, and Wholesaler Defendants responded
  with an amended proposal to plaintiffs on July 31, 2023. The parties are continuing to meet and
  confer and negotiate on that proposal, including the schedule for custodial discovery related to
  all three products.

                           PFS Deficiencies and Orders to Show Cause

  Cases Addressed at the June 7, 2023 Case Management Conference:

  The Court issued five show cause orders returnable at the August 3, 2023 Case Management
  Conference:

     1.   Diane Hardwick v. Aurobindo, et al. – 22-cv-6397
     2.   Rafael Feria v. Teva, et al. – 23-cv-485
     3.   Robert Janecek v. ZHP, et al. – 23-cv-538
     4.   Jacquelyn Smason v. Doe, et al. – 23-cv-194
     5.   Ricky Young v. ZHP, et al. – 22-cv-7210

  The issues in the Hardwick, Feria, and Janecek matters are resolved, and the show cause orders
  may be withdrawn.

  The issues in the Young and Smason matters remain unresolved, but the parties agree to an
  extension of the show cause orders until the next case management conference.

  Second Listing Cases – Order to Show Cause Requested:

  Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially incomplete and
  contain core deficiencies. Each of these cases were previously listed on the agenda for a prior
  CMC. This list was provided to plaintiffs’ leadership on July 25, 2023, and a global meet and
  confer was held on July 28, 2023. Defendants have also been available for further discussion as
  needed. Accordingly, defendants request that an Order to Show Cause be entered in each of these
  cases, returnable at the next case management conference, as to why these cases should not be
  dismissed.

  Defense counsel will be prepared to address the individual issues with respect to each of these
  cases, to the extent necessary, during the August 3, 2023, Case Management Conference:
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           Plaintiff          Civil           Law Firm            Deficiencies                    Deficiency
                             Action                                                               Sent
                              No.
1.     Leslie Sturgill v.   23-cv-612   Bernstein Liebhard LLP    Largely deficient PFS, no       5/2/23
         ZHP, et al.                                              records.




2.        Taffnie            20-cv-       Donahey Law Firm        Need pharmacy records;          5/3/23
         Williams v.         20380                                need undated healthcare
         Aurobindo                                                authorizations
        Pharma, et al.




3.     Sharon Thomas         23-cv-     Nigh Goldenberg Raso &    No medical expense records      4/11/23
        v. Aurobindo          0338             Vaughn             uploaded; declaration is
       Pharma, Ltd. et                                            undated and is missing
             al.                                                  Plaintiff’s printed name;
                                                                  necessary authorizations are
                                                                  signed but incomplete.

4.     Joseph George         21-cv-     Goldenberg Law, PLLC      No Amended PFS Filed            5/20/23
       v. Hetero, et al.     12916
                                                                  Largely deficient PFS;
                                                                  insufficient product ID
                                                                  information and background
                                                                  information; no response as
                                                                  to potential wage loss claim;
                                                                  no authorizations; pharmacy
                                                                  records; no signed
                                                                  declaration

                                                                  Missing medical records
                                                                  from Kennersville VA
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           Plaintiff       Civil            Law Firm            Deficiencies                       Deficiency
                          Action                                                                   Sent
                           No.
5.     Michelle Worms     20-cv-      Goldenberg Law, PLLC      No Amended PFS Filed               5/11/23
       v. Hetero Labs,    19852
            et al.                                              Largely deficient PFS;
                                                                insufficient product ID
                                                                information and background
                                                                information; no response as
                                                                to potential wage loss claim;
                                                                no authorizations; no
                                                                medical or pharmacy
                                                                records; no signed
                                                                declaration;
6.      Robert Lee v.     20-cv-         Nigh Goldenberg        III.3 – Plaintiff identifies his   5/10/23
       Hetero Drugs, et   19843                                 last date of usage for
             al.                                                Losartan products was in
                                                                March 2019. As such,
                                                                please identify how Plaintiff
                                                                has managed or treated his
                                                                hypertension after
                                                                discontinuing the use of
                                                                Losartan products.

                                                                X.I – No health care
                                                                authorization was produced
                                                                for: 1) Orlando Health; 2)
                                                                Underwood Surgery Center;
                                                                3) Central Florida
                                                                Hospitalist Partners; 4)
                                                                Florida Hospital Medical
                                                                Center; 5) or Sand Lake
                                                                Imaging. Please produce
                                                                properly executed and
                                                                undated authorizations for
                                                                said providers.

                                                                X.6 – No insurance records
                                                                authorization was produced
                                                                for: Florida Blue. Please
                                                                produce a properly executed
                                                                and undated authorization
                                                                for said carrier.
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          Plaintiff        Civil            Law Firm               Deficiencies                    Deficiency
                          Action                                                                   Sent
                           No.

                                                                   X.2 – No pharmacy records
                                                                   produced for: 1) CVS; or 2)
                                                                   CVS Specialty Pharmacy.

                                                                   No executed declaration
                                                                   produced with Second
                                                                   Amended PFS.
7.     Karl Bartels v.    20-cv-         Nigh Goldenberg           Largely deficient PFS, need     5/11/23
       Hetero Labs, et    19869                                    records.
             al.




8.    Seifert v. Mylan    22-cv-        Brown Chiari LLP           Incorrect date on declaration   5/30/2023
      Pharmaceuticals,    06727                                    (states that it was signed in
         Inc., et al                                               2013); areas of PFS left
                                                                   blank, see notice for
                                                                   complete listing



9.     Tom Lemen v.      21-cv-740      Law Office of Oscar        No PFS Filed                    PFS Due –
        ZHP, et al.                          Alvarez                                               4/2/21




10.    James Magee v.     19-cv-              Pro Se               No PFS Filed                    PFS Due –
         ZHP, et al.      15858                                                                    11/18/19
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         Plaintiff        Civil            Law Firm            Deficiencies                  Deficiency
                         Action                                                              Sent
                          No.
11.    Phyllis Axt v.    20-cv-        Douglas & London        No PFS Filed                  PFS Due –
        ZHP, et al.       8050                                                               9/1/20




12. Beatrice Meza v.     20-cv-          Wiggins Childs        No PFS Filed                  PFS Due –
     Hetero, et al.       8799                                                               9/13/20




13.   Arnold Vander      20-cv-      Rubin & Machado, Ltd      No PFS Fled                   PFS Due –
      v. ZHP, et al.     10244                                                               10/19/20




14.    E/O Barbara       21-cv-           Carlson Law          No PFS Filed                  PFS Due –
       Lipscomb v.        6574                                                               5/24/21
      Rite Aid, et al.




15.      Benjamin        21-cv-       Whitehead Law Firm       No PFS Filed                  PFS Due –
        Andrews v.       10908                                                               7/7/21
        ZHP, et al.
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          Plaintiff         Civil              Law Firm              Deficiencies                    Deficiency
                           Action                                                                    Sent
                            No.
16.    James Polk v.       21-cv-          Douglas & London          No PFS Filed                    PFS Due –
         ZHP, et al.       13582                                                                     9/12/21




17.   Tina Schram v.       21-cv-              Hollis Law            No PFS Filed                    PFS Due –
        ZHP, et al.        17384                                                                     11/22/21




18.   Boyko Achkova        21-cv-          Johnston Sztykiel         No PFS Filed                    PFS Due –
       v. Rite Aid, et     10355                                                                     9/26/21
             al.




19.   Dean Tasman v.       23-cv-          Levin Papantonio          No PFS Filed                    PFS Due –
        ZHP, et al.         1399                                                                     5/13/23




      First Listing Cases – Remaining Core Deficiencies:

      The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved. This list
      was provided to plaintiffs’ leadership on July 25, 2023, and a global meet and confer was held on
      July 28, 2023. Defendants have also been available for further discussion as needed. This is the
      first time these cases have been listed on this agenda. Accordingly, defendants are not requesting
      orders to show cause with respect to any of the below cases at this time and will continue to meet
      and confer to resolve these deficiencies.
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           Plaintiff          Civil         Law Firm             Deficiencies                    Deficiency
                             Action                                                              Sent
                              No.
1.     Tommy Benton          21-cv-       Serious Injury         Largely deficient PFS. No       4/13/22
        v. Teva, et al.      13858                               records, no authorizations.




2.         Jerome            23-cv-     Chaffin Luhana LLP       No medical records. No          6/8/23
        Zimmerman v.          1884                               pharmacy records.
          ZHP, et al.                                            Authorizations must be
                                                                 undated




3.        Estate of          21-cv-      Carlson Law Firm        Information from records        6/8/23
          Vincent             6017                               must be placed into fact
        Thompson v.                                              sheet, generally referring to
        Walmart, et al.                                          records is not sufficient
                                                                 response. Need
                                                                 authorizations.

4.     Ronald Jackson        23-cv-      Nigh Goldenberg         Need medical expenses,          6/30/23
       v. Torrent, et al.     2341                               need pharmacy records,
                                                                 need medical records.




5.      Byron Wrigley       23-cv-831    Nigh Goldenberg         Largely deficient PFS. No       6/9/2023
                                                                 authorizations. No records.
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           Plaintiff        Civil           Law Firm              Deficiencies                   Deficiency
                           Action                                                                Sent
                            No.
6.       Steven Petrie     23-cv-      Fleming Nolen & Jez        Need medical expense           6/15/2023
                            1772                                  records.




7.     Gregory Adams       20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
       v. Hetero, et al.   15420                                                                 5/19/21




8.        Antonio          20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
         Guzman v.         15712                                                                 5/19/21
        Aurolife, et al.




9.      Lori Stratton v.   20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
         Torrent, et al.   15476                                                                 5/19/21




10.      Lawrence          20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
        Taliaferro v.      15479                                                                 5/19/21
        Camber, et al.
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          Plaintiff        Civil           Law Firm              Deficiencies                   Deficiency
                          Action                                                                Sent
                           No.
11.   Darlene Barzee      20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
      v. Aurolife, et     15731                                                                 5/19/21
            al.




12.   Shirley Black v.    20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
       Torrent, et al.    15740                                                                 5/19/21




13.   Anthony Burton      20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
       v. Aurolife, et    15742                                                                 5/19/21
            al.




14.   Lillian Ghrigsby    20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
       v. Aurolife, et    15746                                                                 5/19/21
              al.




15.   Dianne Hardy v.     20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
       Aurolife, et al.   15748                                                                 5/19/21
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                          Action                                                                Sent
                           No.
16.   Robert Henley       20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
      v. Huahai, et al.   15750                                                                 5/19/21




17.   Rhonda Kent v.      20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
       Hetero, et al.     15752                                                                 5/19/21




18.   Arthur Smith v.     20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
       Hetero, et al.     15757                                                                 5/19/21




19.    Jesus David        20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
         Torres v.        15758                                                                 5/19/21
       Hetero, et al.




20.   Joy Higgins v.      20-cv-       Wiggins, Fairchild        No PFS Filed                   PFS Due –
       Hetero, et al.     15759                                                                 5/19/21
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                          Action                                                               Sent
                           No.
21.   Gonzalo Salazar     21-cv-      Nachawati Law Group       No PFS Filed                   PFS Due –
      v. Hetero, et al.   20033                                                                1/17/22




22.   Dinah Brown v.      21-cv-         Serious Injury         No PFS Filed                   PFS Due –
       Camber, et al.     14477                                                                3/20/22




23.    Jonathan Lee       21-cv-        Houssiere Durant        No PFS Filed                   PFS Due –
         Swiger v.        19310                                                                12/26/21
       Hetero, et al.




24.      Rosanne          20-cv-       Sizemore Law Firm        No PFS Filed                   PFS Due –
      O’Callaghan v.      15125                                                                12/28/20
      Aurobindo, et al.




25.      Shawna           21-cv-          Arnold Itkin          No PFS Filed                   PFS Due –
        Martinez v.       12152                                                                8/4/21
      Aurobindo, et al.
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          Plaintiff        Civil           Law Firm             Deficiencies                   Deficiency
                          Action                                                               Sent
                           No.
26.   Emmett Wesson       23-cv-        Nigh Goldenberg         No PFS Filed – Blank PFS       PFS Due –
      v. Aurobindo, et     2342                                 filed                          6/27/23
            al.




27.    E/O Barbara        23-cv-          Nabers Law            No PFS Filed                   PFS Due –
      Kaluhiokalani v.     2550                                                                7/10/23
       Hetero, et al.




28.   E/O Mary Hines      23-cv-          Nabers Law            No PFS Filed                   PFS Due –
       v. ZHP, et al.      2674                                                                7/24/23




29.   Dixie Buxton v.     23-cv-         Fleming Nolen          No PFS Filed                   PFS Due –
      Aurobindo, et al.    2933                                                                7/30/23




30. Pauline Harris v.     23-cv-        Levin Papantonio        No PFS Filed                   PFS Due -
    Aurobindo, et al.      3016                                                                8/1/23
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  The Honorable Robert B. Kugler
  Special Master the Honorable Thomas Vanaskie
  August 1, 2023
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                                          Valisure Subpoena

  The parties completed briefing on Defendants’ Motion To Compel Motion To Compel
  Materials In The Possession Of Third Party Valisure LLC (Dkt. Nos. 2217, 2227) and Plaintiffs’
  Cross-Motion For A Protective Order (Dkt. Nos. 2228, 2248) on January 23, 2023. These
  motions were also discussed at the January 19, 2023 Status Conference. (See, e.g., Dkt. No.
  2256.) Defendants would appreciate the Court’s consideration of the issues raised in these
  motions.


                                               Respectfully Submitted,




                                               Jessica Davidson

  cc: All counsel of record (via ECF)
